saa crev. 08 ROSE 5:20-cv-05104-PKH DOCH eb Leak Wg OB412/20 Page 1 of 4 PagelD #: 1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court.’ This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket:sheet. - (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Bielema, Bret A. The Razorback Foundation, Inc.
(b) County of Residence of First Listed Plaintiff Norfolk County, Mass. County of Residence of First Listed Defendant Washington County, Ark.
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

Use Page 2 Continustion Sheet. tao aa and/or Defendants NOTE: eae a eene. USE THE LOCATION OF

 

 

   
 
     

(c) Attorneys (Firm Name, Address, and Telephone Number) ~ Attorneys (If Known)
See continuation pages. Marshal! Ney, Friday Eldredge & Clark, LLP, 3350 S. Pinnacle Hills
‘ Pkwy., Rogers, Ark. 72758, (479) 695-6049
II. BASIS OF JURISDICTION (Piace an “X” in One Box Only) HI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[]1 us. Government []3 © Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State CI 1 Cl 1 Incorporated or Principal Place oO 4 [Xl
of Business In This State
Ck U.S. Government [X]4 ; Diversity Citizen of Another State [Xl2 C] 2 Incorporated and Principal Place CI 5 Os
Defendant (Indicate Citizenship of Parties in Item H]) of Business In Another State
Citizen or Subject of a ol 3 Cl 3 Foreign Nation
Foreign Country

 

 

Iv. NATURE OE SUIT (Place an “x” in One Box ae
CONTRACT. S

    
   
   

   

      
      
 
 
  
 

PERSONAL INJURY. PERSONAL .INJURY  {__]

 
 
  

  

 
  
 

  
       
          
     
       
     
 

 
 

  

   

 

110 Insurance 625 Drug Related Seizure = Appeal 28 USC 158 (_]375 False Claims Act
120 Marine 310-Airplane 365 Personal Injury - of Property 21 USC 881 23 Withdrawal “L_J376 Qui Tam (31 USC
130.Miller Act 315 Airplane Product Product Liability | _[690 Other 28 USC 157 3729(a))
140 ‘Negotiable Instrument Liability C367 Health Care/: |__1400 State Reapportionment
150 Recovety of Overpayment 20 Assault, Libel & Pharmaceutical i
& Enforcement of Judgment Slander Personal Injury | _|430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability | 4450 Commerce
1152. Recovery of Defaulted Liability [368 ‘Asbestos Personal | __}460 Deportation
Student Loans 340:Marine Injury Product New Drug Application » [[_|470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability | _& Bo Trademark Corrupt Organizations
[21153 Recovery of Overpaymeitt Liability ERSONAL PROPERTY [ic AU SHOR © CUAL: BREEN 1480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud |_1710 Fair Labor Standarde Bs TIA ¢ 139588) Lj485 Telephone Consumer
[1160 Stockholders’ Suits 355:Motor Vehicle 371 Truth in Lending Act 862 Black Lung (923) Protection Act
190 Other Contract Product Liability 380 Other Personal __}720 Labor/Management 863 DIWC/DIWW (405(2)) _{__]490 Cable/Sat TV
|_J195 Contract Product Liability {L_.]360 Other Personal Property Damage Relations 864 SSID Title XVI |. -}850 Securities/Commodities/
[196 Franchise Injury Les Property Damage |_}740 Railway Labor Act 865 RSI (405(g)) Exchange
L362 Personal Injury - Product Liability L751 Family and Medical “1890 Other Statutory Actions
Medical Malpractice Leave Act | 4891 Agricultural Acts
: COREAL PROPERTY Pe t a N |_\790 Other Labor Litigation SEES: |-- 1893 Environmental Matters
1210 Land Ca ck40 Other Civil Rights Habeas ns Corpus: |__|791 Employee Retirement — Taxes Soe Plaintiff |_.]895 Freedom of Information
| 220 Foreclosure 41 Voting 1463 Alien Detainee Income Security Act or Defendant) Act
| 1230 Rent Lease’ & Ejectment 1 nh442 Employment | 1510 Motions to Vacate ‘ (Ck71 IRS—Third Party 1 _|896 Arbitration
| .]240 Torts to Land ve 443 Housing/ Sentence 26 USC 7609 |_.}899 Administrative Procedure
|. |245 Toit Product Liability Accommodations 1530 General Act/Review or Appeal of
[290 Att Other Real Property « [2hi45 Amer. w/Disabilitiés -|L_1535 Death Penalty S : Agency Decision
: Employment Other: 62 Naturalization ‘Application | _]950 Constitutionality of
46 Amer. w/Disabilities - fuJ540 Mandamus & Other JL_H65 Other Immigration State Statutes
Other 550 Civil Rights Actions
Chas Education {1555 Prison Condition .
|_| 560 Civil Detainee -
Conditions of
Confinement

 

 

V. ORIGIN (Place an-“X” in One Box Only)

x]: Original [2 Removed from EJs Remanded from rl 4 Reinstated or r] 5 Transferred from [Is Multidistrict L]s Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

: (specify) Transfer Direct File
| Cite the U.S. Civil Statute under which you are filing (Do nof cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION |22U:2:2.8 1332/4)

Brief description of cause: ‘
Breach of a Head ‘Coach Buyout Agreement and Related Tortious Conduct

 

 

 

 

 

Vil. REQUESTED IN (] CHECK IF THIS IS A-CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23,F.RCv.P. $ 7,025,000.03 JURY DEMAND: —_ [X]ves °
VILL. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
06/12/2020 - /sf Ryan K. Culpepper

 

PAYMENT: INFORMATIO!
FILING FEE:TO-BE PAID £26

  

‘APPLYING IFP{

 
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CASE OPENING INFORMATION
CONTINUATION SHEET

 

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CASE OPENING INFORMATION
CONTINUATION SHEET

 

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(cont'd)

 

 

 

 

 

 

 

 

 
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CASE OPENING INFORMATION
CONTINUATION SHEET

 

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